
PER CURIAM.
The Florida Supreme Court has entered an order vacating this court’s opinion in consolidated case numbers 4D99-2486 and 4D00-201. The supreme court has further remanded this case for reconsideration and application of its decision in State v. Travis, 808 So.2d 194 (Fla.2002).
We have reconsidered our opinion in case number 4D99-2486 and, based on Travis, we affirm Appellant’s convictions and sentences for trafficking in hydromor-phone. However, we accept the state’s concession that, pursuant to Hayes v. State, 750 So.2d 1 (Fla.1999), the trial court erred in denying Appellant’s motion for judgment of acquittal on his conviction on the count for trafficking in hydrocodone and that the trial court should have entered a judgment of conviction for possession on this count.
In case number 4D00-201, we affirm Appellant’s convictions and sentences for burglary of a structure and second-degree grand theft.
Accordingly, we affirm Appellant’s convictions and sentences for trafficking in hydromorphone and his convictions and sentences for burglary of a structure and second-degree grand theft. We reverse Appellant’s conviction and sentence for trafficking in hydrocodone and remand this cause to the trial court to enter a judgment of conviction for possession of hydrocodone and to re-sentence Appellant on this count.
*999AFFIRMED IN PART; REVERSED IN PART AND REMANDED.
SHAHOOD, TAYLOR, JJ„ and DELL, JOHN W., Senior Judge, concur.
